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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,
               Plaintiff,

vs.                                                         Criminal No. 1:12cr1


HARVEY J. BREWER,
               Defendant.


           MEMORANDUM OPINION/REPORT AND RECOMMENDATION

        Defendant, Harvey J. Brewer, filed a pro se handwritten motion to suppress on March 8,

2012 [D.E. 35]. The United States filed is Response to the Motion on March 14, 2012 [D.E. 48].

By order entered February 23, 2012 bearing Docket Entry Number 24, all pretrial motions were

referred to the undersigned Magistrate Judge. The undersigned scheduled the motion for hearing on

March 15, 2012.

       In accord with Court’s order, on March 15, 2012, came the Defendant, in person, and by his

counsel, Katy Cimino, and also came the United States by her Assistant United States Attorney,

Brandon S. Flower. Thereupon, the Court inquired of Defendant’s counsel of record as to whether

she adopted Defendant’s motion to suppress. Counsel for Defendant advised the Court that she did

not adopt the motion. The Court thereupon noted, on the record, that Defendant had not been given

prior permission to file the motion at issue and had not been given permission by the Court for

“hybrid representation.”

       A number of jurisdictions outside of the Fourth Circuit have addressed the situation where

a Defendant who is represented by counsel attempts to have the Court consider motions filed pro se

and which were not adopted by counsel.
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        In Downs v. Hubbert, 171 Fed. Appx. 640 (9th Cir. 2006) 2254, a case not appropriate for

publication, the Court held: “Appellant’s pro se motions are denied because appellant is represented

by counsel, and only counsel may file motions.”

        In U.S. v. Christian, 193 Fed. Appx. 800 (10th Cir. 2006) 2255, another case not selected for

publication, Christian sought §2255 relief from a sentence due to alleged ineffectiveness of counsel.

The Magistrate Judge conducted a hearing and recommended denial of Christian’s motion. Christian

filed a pro se request for certificate of appealability and a request to proceed in forma pauperis. His

habeas counsel filed a notice of appeal and a request to proceed in forma pauperis. “Because he was

represented by counsel, the district court denied Christian’s pro se motions.”

        In Vitatoe v. Jones, 810 F.2d 204 (6th Cir. 1986), the Court found: “[D]efendant does not

have a Constitutional right under Tennessee Constitution to both represent himself and be

represented by counsel” citing State v. Burkhart, 541 S.W.2d 365 (Tenn. 1976), and State v. Muse,

637 S.W.2d 468 (Tenn. Crim. App. 1982); “no error for trial court to refuse to consider pro se

motions filed in violation of time requirements and when Defendant was also represented by

council.”

        In U.S. v. Sandles, 2008 WL 275684 (EDMich, 2008), Defendant filed two pro se motions

to recuse trial judge and counsel filed a motion to recuse the trial judge. The Court stated: “Since

Sandles is represented by counsel, his pro se motions for recusal shall be stricken and this court shall

consider only the motion filed by counsel.”

        In U.S. v. Young, 2009 WL 163045 (E.D.Pa., 2008), Young, represented by counsel since

arraignment, filed eight pro se motions, but the Court declined to consider the motions ruling: “A

criminal Defendant has a right to counsel. He may alternately proceed pro se, provided that he


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waives his right to counsel. However, a criminal Defendant has no right to ‘hybrid’ representation,

that is, representation both pro se and by counsel in the same proceeding” (internal citations

omitted). Citing a litany of cases, the Court held “because Young was not entitled to ‘hybrid’

representation both pro se and by counsel, the Court will not consider his pro se motions, except

those that have been adopted by his counsel in connection with the motion to withdraw guilty plea.”

In FN8, the Court held: “Even if the Court were to consider the pro se motions, they would be

denied.” The court went further by discussing each motion and the reason it would be denied within

the footnote.

       In United States v. Essig, 10 F.3d 968, 973 (3rd Cir., 1993), the Court held that a court need

not consider pro se motions filed by a Defendant who is represented by counsel.

       In United States v. Vampire Nation, 451 F.3d 189, 206 n. 17 (3d Cir. 2006), the Court noted:

“We observe that the District Court docket is replete with pro se motions that Banks filed while

represented by counsel. We note that the District Court, perhaps in an attempt to retain control of

the proceedings in the face of the [defendant’s] onslaught of pro se motions, ordered on March 8,

2005, that the Clerk of Court was not to accept any further pro se filings from Banks. The District

Court was within its authority to do so.”

       Following the reasoning of Young, Essig and Vampire Nation, the undersigned then stated

on the record of the hearing that, as he ruled on a previous pro se motion by Defendant, he would

not permit defendants, who were not proceeding pro se or under the grant of hybrid representation,

to file their own motions when those motions were not adopted by counsel. If permitted to do so,

the Court and the government would be forced to respond in every instance to every motion whether

spurious or otherwise. The undersigned therefore recommends denial of the motion to Suppress


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as improvidently filed.

        Next, the motion filed by Defendant was untimely. By initial scheduling order entered

January 20, 2012 [DE 18] Defendant Brewer’s motions were due by February 6, 2012. Responses

to any motions filed were due February 16, 2012. For motions referred and requiring a hearing, a

hearing dated of February 21, 2012. Defendant Brewer filed his pro se motion on March 8, 2012.

Defendant’s case is set for trial on March 20, 2012.

       Trial Courts have broad discretion in whether to grant or deny untimely motions.
       Ordinarily, when a district court denies a motion to file out of time, and thus declines
       to rule on the merits of the search warrant, we would refuse to entertain any challenge
       of it on appeal. See United States v. Mangieri, 694 F.2d 1270, 1283 (D.C.Cir.1982)
       (appellate review of district court's rejection of untimely motion “is limited”).
       Compare also United States v. Ulloa, 882 F.2d 41, 43 (2d Cir.1989) (failure to make
       timely motion constitutes waiver of that right even where trial court considers the
       merits), and United States v. Oldfield, 859 F.2d 392, 396 (6th Cir.1988) (issues raised
       in untimely motion to suppress are waived on appeal “even though the district court
       rules on the merits”), with United States v. Vasquez, 858 F.2d 1387, 1389 (9th
       Cir.1988) (when “district court considers and resolves an untimely suppression
       motion on its merits, we may review that decision on appeal”), cert. denied, 488 U.S.
       1034, 109 S.Ct. 847, 102 L.Ed.2d 978 (1989), and United States v. Contreras, 667
       F.2d 976, 978 n. 2 (11th Cir.) (merits of suppression motion properly before court of
       appeals because district court entertained and ruled on merits), cert. denied, 459 U.S.
       849, 103 S.Ct. 109, 74 L.Ed.2d 97 (1982). However, we may reach the merits of the
       suppression issue if the district court committed clear error in denying the defendant's
       request to file out of time. See, e.g., United States v. Jones, 619 F.2d 494, 497 (5th
       Cir.1980) (district court abused its discretion in denying motion to suppress because
       “[g]overnment was not prejudiced by any delay”). United States v. Chavez, 902 F.2d
       259, 262-263 (4th Cir. 1990).


       Defendant’s reason for untimely filing is that he was not aware of the facts surrounding the

information he wishes to have suppressed until he received the United States’ response to his prior

motion to dismiss. Due to the simplicity of the motions, the United States is not prejudiced by the

late filing or by permitting the matter to be heard on the merits. Out of an abundance of caution, the

undersigned will discuss the merits of the motion rather than rest on a procedural default basis for

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recommended denial.

        The undersigned find the motion has no legal merit. Defendant first notes that, according

to the discovery, “Trooper Smith assumed the lead of the investigation. He questioned Saunders,

spoke with staff at FCI Gilmer, and gathered evidence from the Best Western Motel.” Defendant

contends that the State Trooper lacked jurisdiction to collect evidence and investigate an alleged

Federal escape. Further, that he lacks jurisdiction to refer a criminal matter for prosecution regarding

the issue of an alleged Federal escape, “as the Federal Bureau of Investigation had lead jurisdiction

from the outset.” Finally, he asserts that the BOP has arrest authority and shall assume the lead in

the investigation of an alleged or actual escape until the FBI arrives.

        Defendant attached Program Statements and Memoranda of Understandings between the FBI,

United States Marshals, and Bureau of Prisons regarding violations of the Federal Escape and

Rescue Statute. Defendant interprets these documents to mean that only these three agencies have

any jurisdiction, role, and responsibility in the event of escape, and that a State officer therefore lacks

jurisdiction to lead an investigation and collect evidence after an escape from a federal institution.

        The Government attaches W.Va. Code section 15-2-12 to its Response. The Code section

provides, in pertinent part:

        (a) The West Virginia State Police shall have the mission of statewide enforcement
        of criminal and traffic laws with emphasis on providing basic enforcement and
        citizen protection from criminal depredation throughout the state . . . .

        (b) The superintendent and each of the officers and members of the division are
        hereby empowered:

                (1) To make arrests anywhere within the state of any persons charged
                with the violation of any law of this state, or of the United States, and
                when a witness to the perpetration of any offense or crime, or to the
                violation of any law of this state, or of the United states, to make

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               arrests without warrant; to arrest and detain any persons suspected of
               the commission of any felony or misdemeanor whenever a complaint
               is made and a warrant is issued thereon for the arrest . . .

               (3) To cooperate with local authorities in detecting crime and in
               apprehending any person or persons engaged in or suspected of the
               commission of any crime, misdemeanor or offense against the law of
               this state, or of the United States . . . .

The government also attached W.Va. Code section 15-2-14, the oath for the West Virginia State

Police, which provides, in pertinent part:

       I, . . . .do solemnly swear that I will support the Constitution of the United States
       [and] the Constitution of the State of West Virginia . . . .

Finally, the Government provides documentation of the agreement between the United States and

the State of West Virginia whereby the two sovereigns share concurrent jurisdiction over the land

upon which FCI Gilmer sits.

       The undersigned finds Defendant reads too much into the documents he cites in his Motion.

They provide that the SIS shall present each criminal matter to the Warden to determine whether it

is to be referred to the appropriate Federal, state, or local law enforcement agency. They also

provide that when a criminal case is referred to the U.S. Attorney’s office for prosecution, the SIS

shall notify the institution as to whether the case was accepted or declined.

       The Memorandum of Understanding defines the specific jurisdiction, role, and responsibility

of each of the three federal agencies in the event of escape. As among the three agencies, the FBI

will have apprehension responsibility and investigative jurisdiction involving all inmates in BOP

custody and who conspire to escape as well as inmates who have escaped and are a member of an

organization which is the subject of an existing FBI National Security, FBI Organized Crime, or FBI

Terrorism investigation.    The Marshals Service will have apprehension responsibility and


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investigative jurisdiction for all actual escapes, with the exception of organized crime, national

security, terrorism, and certain pre-sentenced inmates noted above. In all cases, the BOP will

conduct immediate apprehension activities (escape posts, etc.) in the community, until the outside

agency having jurisdiction assumes investigative and apprehension responsibilities.

       Although the attachments document the specific role of each of the three Federal agencies,

notably, there is no mention that State and local law enforcement are prohibited from investigating

escapes or even that a Federal Agency shall assume the lead in any investigation. Significantly, “The

FBI shall . . . . [e]stablish and maintain investigative liaison with the USMS, the BOP and other

Federal and local law enforcement agencies as appropriate.” (Emphasis added). Further, once

outside the actual physical boundaries of the federal institution, if the escapee is believed to be in

State or local jurisdiction, it would go against the State Police responsibility for “providing basic

enforcement and citizen protection from criminal depredation throughout the state.” Finally, the

undersigned finds it would defy common sense for State or local officers to be prohibited from

investigating the possibility of a dangerous criminal at loose in their jurisdiction.

       For all the reasons herein stated, the undersigned accordingly recommends Defendant

Brewer’s pro se motion to suppress [DE 35] be DENIED.

       Any party may, by close of business Monday, March 19, 2012, or such other time as ordered

by the District Judge, file with the Clerk of the Court written objections identifying the portions of

the Memorandum Opinion/Report and Recommendation to which objection is made, and the basis

for such objection. A copy of such objections should also be submitted to the Honorable Irene M.

Keeley, United States District Judge. Failure to timely file objections to the Memorandum

Opinion/Report and Recommendation set forth above will result in waiver of the right to appeal from


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a judgment of this Court based upon such proposed findings and recommendation. 28 U.S.C. §

636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208

(1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

       The Clerk of the Court is directed to send a copy of this Report and Recommendation to

counsel of record.

       Respectfully submitted this 15th day of March, 2012.

                                                   John S. Kaull
                                                   JOHN S. KAULL
                                                   UNITED STATES MAGISTRATE JUDGE




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